               Case 2:13-cr-00267-TLN Document 51 Filed 03/24/15 Page 1 of 2


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    DOUGLAS BEEVERS, #288639
     Assistant Federal Defender
3
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: 916/498-5700
5    Facsimile: 916/498-5710
6    Attorneys for Defendant
     FERLANDO CARTER
7

8                                        UNITED STATES DISTRICT COURT

9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                               No. 2:13 CR 267 TLN
11                             Plaintiff,                    STIPULATION AND ORDER TO MODIFY
                                                             CONDITIONS OF PRETRIAL RELEASE
12           v.
13   FERLANDO CARTER,                                        Judge:   Hon. Kendall J. Newman
14                             Defendant.
15

16           IT IS HEREBY STIPULATED by and between Assistant United States Attorney Justin Lee,

17   attorney for Plaintiff and Assistant Federal Defender Douglas Beevers, attorney for Ferlando Carter,

18   that Mr. Carter was released under pretrial supervision on September 23, 2013. Condition number 12

19   of his “Special Conditions of Release” requires him to seek and/or maintain employment and

20   provide proof of same as requested by his pretrial services officer. This condition goes on to state

21   that if not employed, Mr. Carter must enroll and participate in school and provide proof of the same

22   to his pretrial services officer.

23           It appears that Mr. Carter may be low-functioning and it is very difficult for him to obtain

24   employment and/or to participate in school.

25           The defendant, with the full support of his pretrial services officer, Darryl Walker, requests

26   that this Court eliminate condition number 12 of his Special Conditions of Release due to his

27   disability status.

28

     Stipulation to Modify Conditions of Release         1                              13-267 TLN
               Case 2:13-cr-00267-TLN Document 51 Filed 03/24/15 Page 2 of 2


 1           The defendant makes this request pursuant to 18 U.S.C. § 3141(c) (3) which permits this

 2   Court to modify the conditions of release at any time.

 3   Dated: March 23, 2015                                Respectfully submitted,
 4
                                                          HEATHER WILLIAMS
 5                                                        Federal Defender

 6                                                        /s/ Douglas Beevers
                                                          DOUGLAS J. BEEVERS
 7
                                                          Assistant Federal Defender
 8                                                        Attorney for Defendant
                                                          FERLANDO CARTER
 9

10
     DATED: March 23, 2015                                BENJAMIN B. WAGNER
11
                                                          United States Attorney
12
                                                          /s/ Douglas Beevers for
13                                                        JUSTIN LEE
                                                          Assistant U.S. Attorney
14                                                        Attorney for Plaintiff
15

16                                                 ORDER

17           IT IS HEREBY ORDERED that condition number 12 of the Special Conditions of Release
18   be eliminated from the Special Conditions of Release. All other conditions are to remain in effect.

19
20   Dated: March 23, 2015
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     Stipulation to Modify Conditions of Release         2                             13-267 TLN
